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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                   NO: 2:14-CR-21-RMP-28

 8                             Plaintiff,
            v.                                    ORDER GRANTING DEFENDANT’S
 9                                                MOTION TO AMEND CONDITIONS
                                                  OF RELEASE TO PERMIT TRAVEL
10    SEAN L. LAMBERT (28),                       AND TO EXPEDITE HEARING OF
                                                  THE SAME
11                             Defendant.

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13         BEFORE THE COURT is Defendant’s Motion to Modify Conditions of

14   Release to Permit Travel, ECF No. 1879, and his Motion to Expedite Hearing of

15   the Same, ECF No. 1880. The Court has reviewed the record and is fully

16   informed.

17         Defendant requests that the Court permit him to travel to Hermiston, Oregon

18   for the funeral of a family member, which is being held on May 14, 2016.

19   Defendant would like to travel on May 13, 2016, with plans to return to Spokane,

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     ORDER GRANTING DEFENDANT’S MOTION TO AMEND CONDITIONS
     OF RELEASE TO PERMIT TRAVEL AND TO EXPEDITE HEARING OF THE
     SAME ~ 1
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 1   Washington on or before May 15, 2016. The Court finds good cause to grant the

 2   request on an expedited basis.

 3           Accordingly, IT IS HEREBY ORDERED:

 4           1. Defendant’s Motion to Modify Conditions of Release to Permit Travel,

 5   ECF No. 1879, and Motion to Expedite Hearing of the Same, ECF No. 1880, are

 6   GRANTED.

 7           2. The Conditions of Release are modified only to the extent that Defendant

 8   may travel to Hermiston, Oregon on May 13, 2016, may attend the funeral, and

 9   must return to Spokane, Washington on or before May 15, 2016. All other

10   Conditions of Release shall remain in place, and this modification to allow travel

11   shall only be applicable during the time period from May 13, 2016, to May 15,

12   2016.

13           The District Court Clerk is hereby directed to enter this Order and provide

14   copies to counsel and to the United States Probation Office.

15           DATED this 13th day of May 2016.

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17                                                 s/ Rosanna Malouf Peterson
                                                ROSANNA MALOUF PETERSON
18                                                United States District Judge

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     ORDER GRANTING DEFENDANT’S MOTION TO AMEND CONDITIONS
     OF RELEASE TO PERMIT TRAVEL AND TO EXPEDITE HEARING OF THE
     SAME ~ 2
